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     MICHAEL JAY BERGER (State Bar # 100291)
1    SOFYA DAVTYAN (State Bar # 259544)
     LAW OFFICES OF MICHAEL JAY BERGER
2    9454 Wilshire Blvd. 6th Floor                                FILED & ENTERED
3
     Beverly Hills, CA 90212-2929
     Telephone: (310) 271-6223
     Facsimile: (310) 271-9805                                          JUL 09 2024
4
     E-mail: Michael.Berger@bankruptcypower.com
5    E-mail: Sofya.Davtyan@bankruptcypower.com                     CLERK U.S. BANKRUPTCY COURT
                                                                   Central District of California

6    Counsel for Debtor and Debtor-in-Possession                   BY fisherl    DEPUTY CLERK

     Mr. Tortilla, Inc.
7
8                         UNITED STATES BANKRUPTCY COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
10
11                          SAN FERNANDO VALLEY DIVISION

12   In re:                                    )   CASE NO.: 1:24-bk-10228-VK
                                               )
13                                             )   Chapter 11
                                               )
14   Mr. Tortilla, Inc.,                       )   INTERIM ORDER GRANTING
                                               )   DEBTOR’S MOTION FOR ORDER
15                                             )   AUTHORIZING CONTINUED USE
               Debtor and Debtor-in-Possession.)   OF CASH COLLATERAL
16                                             )
                                               )
17                                             )   Continued Hearing:
18                                             )   Date: June 27, 2024
                                               )   Time: 1:00 p.m.
19                                             )
                                               )   Place: Courtroom 301 [ZoomGov and in-
20                                             )   person]
                                               )   21041 Burbank Blvd., 3rd Floor
21                                             )   Woodland Hills, CA 91367
                                               )
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     Case 1:24-bk-10228-VK       Doc 242 Filed 07/09/24 Entered 07/09/24 11:23:01            Desc
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1
            A continued hearing took place at the above time and place to consider the Motion

2    for Order Authorizing Continued Use of Cash Collateral (the “Cash Collateral Motion”)
3
     [docket nos: 166, 168, 177] filed by Mr. Tortilla, Inc., the Debtor and Debtor-in-
4
     Possession herein (the “Debtor”). Appearances are noted on the record. The Court
5
6    having considered the Cash Collateral Motion, the Official Committee of Unsecured
7
     Creditors’ Limited Objection to Cash Collateral Motion [docket no.: 185], Partial
8
     Objection to Debtor’s Cash Collateral Motion filed by Creditor Sand Park Capital, LLC
9
10   [docket no.: 188], Committee’s Limited Statement in Support of Sand Park Capital,
11   LLC’s Partial Objection [docket no.: 190], Debtor’s Reply to Committee’s and Sand
12
     Park’s Objections [docket no.: 203], and good causing appearing:
13
14          HEREBY ORDERED that:
15          1.     Subject to the provisions of this Order, the Debtor’s Cash Collateral Motion
16
     is granted on an interim basis through August 1, 2024.
17
            2.     Debtor is authorized to use cash collateral, as that term is defined by 11
18
     U.S.C. § 363(a) (“Cash Collateral”), in accordance with the budget attached to Debtor’s
19
     Cash Collateral Motion, as supplemented by the budget filed on May 13, 2024 [docket
20
     no.: 177], as further amended in accordance with an order from this Court resolving the
21
     Statement of Objection of Official Committee of Unsecured Creditors to Debtors Notice
22
     of Setting/Increasing Insider Compensation and Request for Hearing [Dkt. No. 209].
23
            3.     To satisfy the right of the U.S. Small Business Administration (the “SBA”)
24
25
     to adequate protection of its interest in the Debtor’s Cash Collateral, the SBA is hereby

26   granted, pursuant to Section 361, 363, and 552(b) of the Bankruptcy Code, a valid,

27   attached, choate, enforceable, perfected, post-petition security interest and lien in and

28   against all post-petition assets of the Debtor of the same character and type, to the same


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1    nature, extent, validity, and priority that existed prepetition, and to the extent of
2    diminution in value of SBA’s collateral caused by the Debtor’s use of Cash Collateral.
3    Debtor shall, as further adequate protection of the SBA’s interest in Cash Collateral,
4    continue to pay SBA monthly adequate protection payments in the amount of $1,237.00,
5    due by the 1st day of every month until further order of this Court.
6
            4.     To satisfy the right of Amazon Capital Services, Inc. (“ACS”) to adequate
7
     protection of its interest in the Debtor’s Cash Collateral, ACS is hereby granted, pursuant
8
     Section 361, 363, and 552(b) of the Bankruptcy Code, a valid, attached, choate,
9
     enforceable, perfected, post-petition security interest and lien in and against all post-
10
     petition assets of the Debtor of the same character and type, to the same nature, extent,
11
     validity, and priority that existed prepetition, and to the extent of diminution in value of
12
     ACS’s collateral caused by the Debtor’s use of Cash Collateral. Debtor shall, as further
13
     adequate protection of ACS’s interest in Cash Collateral, continue to pay ACS monthly
14
15   adequate protection payments in the amount of $5,000.00, which payment will be

16   deducted by ACS from Debtor’s seller account and applied toward ACS’s loan balance.

17          5.     To satisfy the right of Sand Park Capital, LLC (the “Sand Park”) to
18   adequate protection of its interest in the Debtor’s Cash Collateral, Sand Park is hereby
19   granted, pursuant to Section 361, 363, and 552(b) of the Bankruptcy Code, a valid,
20   attached, choate, enforceable, perfected, post-petition security interest and lien in and
21   against all post-petition assets of the Debtor of the same character and type, to the same
22   nature, extent, validity, and priority that existed prepetition, and to the extent of
23   diminution in value of Sand Park’s collateral caused by the Debtor’s use of Cash
24   Collateral.
25
            6.     In addition, ACS, the SBA, and Sand Park shall hold allowed
26
     administrative claims under Section 507(b) of the Bankruptcy Code with respect to the
27
     adequate protection obligations of the Debtor to the extent that the replacement liens and
28
     post-petition collateral do not adequately protect the diminution in value of the interests

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1    of the SBA, ACS, and Sand Park in their prepetition collateral. Such administrative
2    claims shall be junior and subordinate only to any superpriority claim of the kind ordered
3    by the Court and specified in Section 364 of the Bankruptcy Code. The administrative
4    claims shall be payable from and have recourse to all prepetition and post-petition
5    property of the Debtor and all proceeds thereof. The liens on post-petition collateral shall
6
     be in addition to any prepetition liens held by the SBA, ACS, and Sand Park and shall
7
     remain in full force and effect notwithstanding any subsequent conversion or dismissal of
8
     this case.
9
            7.     This Interim Order shall be deemed to constitute a security agreement under
10
     the applicable provisions of the Uniform Commercial Code (“UCC”) in effect, and the
11
     adequate protection liens granted by this Interim Order on post-petition collateral shall be
12
     valid, perfected, and enforceable security interests and liens on the property of the Debtor
13
     and the Debtor’s estate without further filing or recording of any document or instrument
14
15   or any other action, but only to the extent that ACS, the SBA, and Sand Park respectively,

16   have valid and perfected security interests prior to the Debtor’s petition date. Such

17   adequate protections liens shall be enforceable against the Debtor and all other persons
18   and parties, including without limitation any subsequent Trustee (if appointed under
19   Chapter 7 or Chapter 11 of the Bankruptcy Code), by operation of law and immediately
20   upon entry of this Interim Order. The adequate protection liens granted by this Interim
21   Order on post-petition collateral shall not extend to the proceeds of any avoidance actions
22   by the Debtor or the estate pursuant to section 544, 547, 548, 549, or 550 of the
23   Bankruptcy Code.
24          8.     The Debtor will provide the Official Committee of Unsecured Creditors,
25
     ACS, SBA, and Sand Park with an accounting, on a monthly basis, of all revenue,
26
     expenditures, and collections with description of any variances from the budget by way of
27
     filing monthly operating reports with the Court and providing a variance report to the
28


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1    Official Committee of Unsecured Creditors, the ACS, SBA, and Sand Park, within seven
2    days thereafter.
3           9.     Nothing contained herein shall be deemed a waiver by ACS, the SBA, or
4    Sand Park from seeking further or additional adequate protection of their collateral,
5    asserting objections to the Debtor’s further use of Cash Collateral, or pursuing any other
6
     rights or remedies available to them under law or equity.
7
            10.    Nothing contained herein shall prevent a creditor or other party in interest
8
     from contesting the validity, perfection and enforceability, or priority of a secured party’s
9
     liens, or from raising any defenses, offsets, deductions or counterclaims thereto.
10
            11.    If any or all of the provisions of this Interim Order are hereafter
11
     modified, vacated or stayed by any subsequent order of this Court or any other
12
     court, such stay, modification or vacation shall not affect the validity or enforceability
13
     of any lien or priority authorized or created hereby prior to the effective date of such
14
15   modification, stay, vacation or final order to the extent that said lien or priority is valid,

16   perfected, enforceable and otherwise non-avoidable as of the Petition Date. The

17   validity and enforceability of all liens and priorities authorized or created in this Interim
18   Order shall survive the conversion of this case to a proceeding under Chapter 7 of
19   the Bankruptcy Code or the dismissal of this proceeding.
20          12.    Payment of the insider compensation and any related benefits is to be made
21   in compliance with the Order Resolving the Objection of the Official Committee of
22   Unsecured Creditors to the Debtor’s Notices of Setting/Increasing Insider Compensation
23   [docket no.: 209].
24          13.    Payment of professional fees are subject to application and approval by this
25
     Court. All secured creditors reserve their rights to object to the use of cash collateral for
26
     the payment of professional fees.
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            ///
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1          14.    A continued hearing on the Cash Collateral Motion will take place on
2    August 1, 2024 at 1:00 p.m. in Courtroom 301 of the above-captioned court.
3          15.    July 15, 2024 is the deadline for the Debtor to file and serve a revised cash
4    collateral budget that covers the period through September 30, 2024.
5
6
           APPROVED AS TO FORM:
7
8                                             E. MARTIN ESTRADA
                                              United States Attorney
9                                             DAVID M. HARRIS
10
                                              Assistant United States Attorney
                                              Chief, Civil Division
11                                            JOANNE S. OSINOFF
                                              Assistant United States Attorney
12                                            Chief, Complex and Defensive Litigation
                                              Section
13
14                                         By:__________________________________
15                                           ELAN S. LEVEY
                                             Assistant United States Attorney
16                                           Attorneys for U.S. Small Business
17
                                             Administration

18
                                              K&L GATES LLP
19
20                                            __________________________
21                                            Brandy A. Sargent
                                              Counsel for Amazon Capital Services, Inc.
22                                            And Amazon.com Services LLC
23
24
25                                            CORRIGAN & MORRIS LLP
26
27                                            _________________________
                                              Brian T. Corrigan
28                                            Counsel for Secured Creditors


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     Case 1:24-bk-10228-VK    Doc 242 Filed 07/09/24 Entered 07/09/24 11:23:01    Desc
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1
                                          Sand Park Capital, LLC and
                                          Cedar Advance, LLC
2
3
                                          ORRICK, HERRINGTON & SUTCLIFFE LLP
4
5
                                          _________________________
6                                         Mark Franke
7                                         Brandon Batzel
                                          Counsel for The Official Committee of
8                                         Unsecured Creditors
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24       Date: July 9, 2024

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     Case 1:24-bk-10228-VK        Doc 242 Filed 07/09/24 Entered 07/09/24 11:23:01        Desc
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         MICHAEL JAY BERGER (State Bar # 100291)
     1   SOFYA DAVTYAN (State Bar # 259544)
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         Facsimile:    (310) 271-9805
         E-mail: Michael.Bergerbankruptcypower.com
         E-mail: Sofya. Davtyanbankruptcypower. corn

     6   Counsel for Debtor and Debtor-in-Possession
         Mr. Tortilla, Inc.
     7
 8                             UNITED STATES BANKRUPTCY COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
10
11                               SAN FERNANDO VALLEY DIVISION

12       Inre:                                        ) CASENO.: l:24-bk-10228-VK
                                                      )
13                                                    ) Chapter 11
14       Mr. Tortilla, Inc.,                       ) ORDER GRANTING DEBTOR’S
15                                                 ) MOTION FOR ORDER
                                                   ) AUTHORIZ ING CONTINUED USE
                                                     OF CASH COLLATER
                   Debtor and Debtor-in-Possession.)                         AL
16
                                                   )
17                                                     Continued Hearing:
18                                                 )   Date: June 27, 2024
                                                       Time: 1:00p.m.
19                                                     Place: Courtroom 301 [ZoomGov and in-
20                                                 )   person]
                                                   )   21041 Burbank Blvd., 3’ Floor
21                                                     WoodlandHills,CA91367
22                                                )
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     1           A continued hearing took place at the above time and place to consider the Motion

     2    for Order Authorizing Continued Use of Cash Collateral (the “Cash Collateral Motion”)

          [docket nos: 166, 168, 177] filed by Mr. Tortilla, Inc., the Debtor and Debtor-in-
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10        [docket no.: 188], Committee’s Limited Statement in Support of Sand Park Capital,

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         Park’s Objections [docket no.: 203], and good causing appearing:
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                2.      Debtor is authorized to use cash collateral, as that term is defined by 11
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         U.S.C. § 363(a) (“Cash Collateral”), in accordance with the budget attached to Debtor’s
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22
         ofSetting/Increasing Insider Compensation and Request for Hearing [Dkt. No. 209].
23
                3.     To satisfy the right of the U.S. Small Business Administration (the SBA”)
24
25       to adequate protection of its interest in the Debtor’s Cash Collateral, the SBA is hereby

26       granted, pursuant to Section 361, 363, and 552(b) of the Bankruptcy Code, a valid,

27       attached, choate, enforceable, perfected, post-petition security interest and lien in and

28       against all post-petition assets of the Debtor of the same character and type, to the same



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     1    nature, extent, validity, and priority that existed prepetition, and to the extent of
     2    diminution in value of SBA’s collateral caused by the Debtor’s use of Cash Collateral.
     3    Debtor shall, as further adequate protection of the SBA’s interest in Cash Collateral.
          continue to pay SBA monthly adequate protection payments in the amount of$l,237.00,
          due by the 1st day of every month until further order of this Court.
 6
                      4,       To satisfy the right of Amazon Capital Services, Inc. (“ACS”) to adequate
 7                    .


          protection of its interest in the Debtors Cash Collateral, ACS is hereby granted, pursuant
 8
          Section 361, 363, and 552(b) of the Bankruptcy Code, a valid, attached. choate,
 9
          enforceable, perfected, post-petition security interest and lien in and against all post-
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         petition assets of the Debtor of the same character and type, to the same nature, extent,
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12
         ACS’s collateral caused by the Debtor’s use of Cash Collateral. Debtor shall, as further
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         adequate protection of ACS’s interest in Cash Collateral, continue to pay ACS monthly
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15       adequate protection payments in the amount of $5,000.00, which payment will be

16       deducted by ACS from Debtor’s seller account and applied toward ACS’s loan balance.

17                   5.        To satisfy the right of Sand Park Capital, LLC (the “Sand Park”) to

18       adequate protection of its interest in the Debtor’s Cash Collateral, Sand Park is hereby’
19       granted, pursuant to Section 361, 363, and 552(b) of the Bankruptcy Code, a valid,
20       attached, choate, enforceable, perfected, post-petition security interest and lien in and
21       against all post-petition assets of the Debtor of the same character and type, to the same
22       nature, extent, validity, and priority that existed prepetition, and to the extent of
23       diminution in value of Sand Park’s collateral caused by the Debtor’s use of Cash
24       Collateral.
25
                     6.        In addition, ACS, the SBA, and Sand Park shall hold allowed
26           .   .         .      .              .

         administrative claims under Section 507(b) of the Bankruptcy Code with respect to the
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         adequate protection obligations of the Debtor to the extent that the replacement liens and
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     1     of the SBA, ACS, and Sand Park in their prepetition collateral. Such administrative
     2     claims shall be junior and subordinate only to any superpriority claim of the kind ordered
     3     by the Court and specified in Section 364 of the Bankruptcy Code. The administrative
           claims shall be payable from and have recourse to all prepetition and post-petition
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 8
           this case.
 9
                  7.     This Interim Order shall be deemed to constitute a security agreement undei
10
           the applicable provisions of the Uniform Commercial Code (“UCC”) in effect, and the
           adequate protection liens granted by this Interim Order on post-petition collateral shall be
12
           valid, perfected, and enforceable security interests and liens on the property of the Debtor
13
           and the Debtor’s estate without further filing or recording of any document or instrument
14
15         or any other action, but only to the extent that ACS, the SBA, and Sand Park respectively,

16         have valid and perfected security interests prior to the Debtor’s petition date. Such

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18        and parties, including without limitation any subsequent Trustee (if appointed under
19        Chapter 7 or Chapter 11 of the Bankruptcy Code), by operation of law and immediately
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21        Order on post-petition collateral shall not extend to the proceeds of any avoidance actions
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          filing monthly operating reports with the Court and providing a variance report to the
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     1     Official Committee of Unsecured Creditors, the ACS, SBA, and Sand Park, within seven
     2     days thereafter.
     3             9.     Nothing contained herein shall be deemed a waiver by ACS, the SBA, or
           Sand Park from seeking further or additional adequate protection of their collateral,
           asserting objections to the Debtor’s further use of Cash Collateral, or pursuing any other
 6
           rights or remedies available to them under law or equity.
                   10.    Nothing contained herein shall prevent a creditor or other pain’ in interest
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           from contesting the validity, perfection and enforceability, or priority of a secured party’s
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           liens, or from raising any defenses, offsets, deductions or counterclaims thereto.
10
                   11.   If any or all of the provisions of this Interim Order are hereafter
           modified, vacated or stayed by any subsequent order of this Court or any other
12
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13
           of any lien or priority authorized or created hereby prior to the effective date of such
14
15         modification, stay, vacation or final order to the extent that said lien or priority is valid,

16         perfected, enforceable and otherwise non-avoidable as of the Petition I)ate. The

17        validity and enforceability of all liens and priorities authorized or created in this Interim

18         Order shall survive the conversion of this case to a proceeding under Chapter 7 of
19        the Bankruptcy Code or the dismissal of this proceeding.
20                12.    Payment of the insider compensation and any related benefits is to be made
21        in compliance with the Order Resolving the Objection of the Official Committee of
22        Unsecured Creditors to the Debtor’s Notices of Setting/Increasing Insider Compensation
23        [docket no.: 2091.
24                13.    Payment of professional fees are subject to application and approval by this
25
          Court. All secured creditors reserve their rights to object to the use of cash collateral for
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     Case 1:24-bk-10228-VK        Doc 242 Filed 07/09/24 Entered 07/09/24 11:23:01               Desc
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     1          14.    A continued hearing on the Cash Collateral Motion will take place on
     2   August 1,2024 at 1:00p.m. in Courtroom 301 of the above-captioned court.
     3          15.   July 15, 2024 is the deadline for the Debtor to file and serve a revised cash
         collateral budget that cover the period through September 30, 2024.
     5
     6
               APPROVED AS TO FORM:
     7
     8                                            E. MARTIN ESTRADA
                                                  United States Attorney
                                                  DAVID M. HARRIS
1                                                 Assistant United States Attorney
                                                  Chief, Civil Division
11                                                JOANNE S. OSINOFF
                                                  Assistant United States Attorney
12                                                Chief, Complex and Defensive Litigation
                                                  Section
13
14                                            By:
15                                               ELANS.LEVEY
                                                 Assistant United States Attorney
16                                               Attorneys for U.S. Small Business
17                                               Administration

18
                                                 K&L GATES LLP
19
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21                                               Brandy A. Sargent
                                                 Counsel for Amazon Capital Services, Inc.
22                                               And Amazon.com Services LLC
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     1          14.   A continued hearing on the Cash Collateral Motion will take place on
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     5
     6
               APPROVED AS TO FORM:
     7
     8                                            E. MARTIN ESTRADA
                                                  United States Attorney
                                                  DAVID M. HARRIS
10                                                Assistant United States Attorney
                                                  Chief, Civil Division
11                                                JOANNE S. OSINOFF
                                                  Assistant United States Attorney
12                                                Chief Complex and Defensive Litigation
                                                  Section
13
14                                            By:______________________________
15                                              ELAN S. LEVEY
                                                Assistant United States Attorney
16                                              Attorneys for U.S. Small Business
17                                              Administration

                                                 K&L GATES LLP
19
20                                                           /

21                                               Brandy A. Sarit
                                                 Counsel for Amazon Capital Services, Inc.
22                                               And Amazon.com Services LLC
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 Case 1:24-bk-10228-VK   Doc 242 Filed 07/09/24 Entered 07/09/24 11:23:01         Desc
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     1                                 C()RRIGAN & IVIORRJS l.JP



                                      I nan I C. orrigan
  4                                   Counsel lbr Secured Credhors
     5                                Sand Park Capital. LI C and
                                      Cedar Advance. LLC
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 8                                    ()P.RICK. 1 ILRRINGI()NJ       SL:I’C’LI11L I LP

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11                                    I3randon Batzel
                                      Counsel Ibr 1 he OI’lie ial Committee of’
12                                    Unsecured Creditors
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     1                                        CC)RRlGA & MC)RRIS [[P
     2
     3                                                                 -




                                              Brian I. Corrigan
     4                                        Counsel ftr Secured Creditors
     5                                        Sand Park Capital, I.. [C and
                                              Cedar Advance, LLC
     6
     7
     8                                        ORRICK. HERRINCITON & SUTCLIEFE [[P

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 10
                                              Mae                          —




 11                                           Brandon Batzel
                                              Counsel t’or The Of’flcial Committee ot
 12
                                               insecured Creditors
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